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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


  VICKI TIMPA, INDIVIDUALLY, AND               §
  AS REPRESENTATIVE OF THE                     §
  ESTATE OF ANTHONY TIMPA, AND                 §
  CHERYL TIMPA, INDIVIDUALLY AS                §
  NEXT FRIEND OF K. T., A MINOR                §
  CHILD                                        §

         Plaintiffs,                           §
                                               §
  v.                                           §      CIVIL ACTION NO. 3:16-cv-03089-N
                                               §
  DUSTIN DILLARD,                              §
  DANNY VASQUEZ,                               §
  RAYMOND DOMINGUEZ, DOMINGO                   §
  RIVERA, KEVIN                                §
  MANSELL, GLENN                               §
  JOHNSON, CRIMINAL
  INVESTIGATIVE UNIT, LLC
       Defendants.                             §


   AMENDED MOTION TO EXCLUDE TESTIMONY OF FREDERICK JOHNSON
                CONCERNING DAMAGES EVIDENCE

       Plaintiffs Vicki Timpa, Cheryll Timpa and K.T. file this their Motion to Exclude Testimony

of Frederick Johnson .

                          FACTS AND PROCEDURAL HISTORY
       On July 5, 2023, Defendants urged that the testimony of Inmate Frederick Johnson is

relevant to the issues of damages. Defendants’ Response to Plaintiffs’ and Intervenor’s Motions

in Limine. (ECF No. 291). Specifically, they urged




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       His conduct greatly increased the likelihood that he would be arrested, incarcerated, infected
       with disease, disabled or killed, and all of those outcomes would affect his ability to earn
       money and maintain familial relationships – the core of any calculation of damages. The jury
       cannot realistically project Mr. Timpa’s future health, financial and relationship prospects if
       Plaintiffs are allowed to conceal all of the decisions he made to throw them away.

Id., at Abdul v. Logistics Express, Inc,, 2009 WL 10722142 at *2                (S.D. Miss. July 7,

2009)(decedent’s behavioral issues are relevant to damages and are not unfairly prejudicial). On

September 25, 2023, Plaintiffs abandoned their claim for pecuniary losses. Thereafter, Defendants

determined that they would not call two damages witnesses—Economist Helen Reynold and Dr.

Steven Bird.

                              ARGUMENT AND AUTHORITIES
   A. Inmate Johnson’s testimony remains irrelevant to Fourth Amendment liability.
       As stated in previous filings, Frederick Johnson’s testimony has no relevance. See FED. R.

EVID. 401. (“Evidence is relevant if: (a) has any tendency to make a fact more or less probable

than it would be without the evidence; and (b) the fact is of consequence in determining the

action.”) It is well-settled that only what the officers knew at the time of the seizure is relevant to

determine the reasonableness of force. Graham v. Connor, 490 U.S. 386, 396, 109 S.Ct. 1865, 104

L.Ed.2d 443 (1989). In other words, “[e]xcessive force claims ... are evaluated for objective

reasonableness based upon the information the officers had when the conduct occurred.” Saucier

v. Katz, 533 U.S. 194, 207 (2001). What the litigants may learn or gather later is plainly

irrelevant—which is fully congruent with the conditional relevance as explained by the Advisory

Committee. Here, at the time of encountering Tony Timpa, none of the officers knew about

anything that he had done or said before their arrival. They had no knowledge about Frederick

Johnson before Timpa’s killing. Thus, the statements from Frederick Johnson have no relevance

to determining whether the DPD defendants employed excessive force and caused Timpa’s death.


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     B. Inmate Johnson’s testimony remains irrelevant to causation.

         Knowing well that Johnson’s testimony has no probative value concerning Fourth

Amendment liability, Defendants have attempted to shoe-horn Johnson’s testimony into another

acceptable category. The only two that remain are causation and damages. Johnson’s testimony

has zero relevance to causation. Johnson supposedly apprised DPD Detectives that Timpa alone

had consumed a variety of illicit substances, none of which except cocaine were in Tony’s

toxicology screen. Notwithstanding Johnson’s inaccuracies about the other substances, his

proffered testimony that Tony told him that he, Tony, had done some cocaine is inadmissible

hearsay. See FED. R. CIV. 801, 802. It would be offered only for the truth of the asserted matter

and thus is wholly impermissible. Johnson’s hearsay statements assume that any statements about

cocaine are actually relevant. For cause of death, none of the peer-reviewed literature actually bear

that out.1 Nonetheless, the medical examiner opined that cocaine usage PLUS the prone restraint

killed Timpa. At best, the cocaine usage has slight relevance to Timpa’s death.2

         To the extent that cocaine consumption is relevant, though, it is already established by

Timpa’s own statements and equally importantly, the toxicology screen performed with the

autopsy. Stated another way, Defendants seek hearsay testimony on a scantly relevant matter that




1
  Stephens et al., in the article entitled “Criteria for the Interpretation of Cocaine Levels in Human Biological Samples
and Their Relation to the Cause of Death” - (Am J Forensic Med Pathol 2004;25: 1–10), state the following: “The
determination that cocaine is directly responsible for the immediate cause of death should be considered only when
there is a reasonably complete understanding of the circumstances or facts surrounding the death. Another, more
obvious and immediate cause of death must be absent, or at least cocaine must be shown to be a significant contributing
factor in the chain of medical findings that lead directly to the immediate cause of death.”
2
  It also has slight relevance as a known risk factors for positional asphyxia. See, e.g, Gutierrez v. San Antonio, 139
F.3d 441, 446 (5th Cir. 1998) citing See San Diego Police Department, Final Report of the Custody Death Task
Force (unpublished, June 1992). However, Defendants paradoxically assert that they had no knowledge that Tony
Timpa had ingested cocaine, despite his admission and their repeated statements that he was “on something.”


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is already established by more reliable means. Johnson’s cumulative hearsay concerning cocaine

adds nothing new for the trier of fact.

   C. Inmate Johnson’s testimony is irrelevant to damages.

       Now that Plaintiffs have abandoned their claims concerning pecuniary losses and

particularly since Dr. Stephen Bird will not testify on the subject of life expectancy and the

decedent’s “risky lifestyle.” Unmoored from any theory tied to damages, the testimony of

Frederick Johnson has no probative value. With no express claim for economic loss, Defendants’

extant contention—the “jury cannot realistically project Mr. Timpa’s future health, financial and

relationship prospects if Plaintiffs are allowed to conceal all of the decisions he made to throw

them away”—is entirely irrelevant. The nature, length and duration of the interaction with Johnson

has no tendency to make a fact of consequence in this litigation more or less probable. See FED.

R. EVID. 401.

   D. Inmate Johnson’s violates FRE 403.
       As stated previously, Defendants’ real aim with the Inmate Johnson testimony is to inject

the topic of homoerotic sex into the jury box. FRE 403 provides that evidence should be excluded

if its probative value is substantially outweighed by a danger of unfair prejudice. “Courts have

recognized that evidence of a defendant’s homosexuality is prejudicial and should be excluded in

many situations. “ U.S. v. Solesbee, 94 Fed. Appx. 207, 214 (5th Cir. 2004) citing People of

Territory of Guam v. Shymanovitz, 157 F.3d 1154, 1160 (9th Cir. Guam 1998)(concluding that

admitting contents of gay magazines “served only the highly improper and offensive purpose of

advising the jury that [defendant] was probably homosexual”); United States v. Gillespie, 852 F.2d

475, 479 (9th Cir.1988) (“evidence of homosexuality is extremely prejudicial”). The true purpose

for the Johnson sideshow is to light a bonfire of homophobia and brand Tony an expendable pariah.

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                                          CONCLUSION

        Removing Plaintiffs’ claims for pecuniary losses renders this testimony entirely irrelevant

to liability, causation and, now more than ever, damages. This testimony will serve no other

purpose than to subject Plaintiffs to irreversible, unfair prejudice. Plaintiffs thus urge the Court to

bar the admission of Inmate Johnson’s testimony.

                                               Respectfully Submitted,


                                       By:     /s/ Geoff J. Henley
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                                 CERTIFICATE OF SERVICE
         On this 25th day of September 2023, I hereby certify that I electronically submitted the
foregoing document with the clerk of the court for the U.S. District Court, Northern District of
Texas, using the CM/EFC system which will send notification to all attorneys of record who are
registered for electronic notice.

                                               /s/ Geoff J. Henley
                                               Geoff J. Henley




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